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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

Lisa Webb,                                                Case No.

and,

Jason Webb,                                                           COMPLAINT

          Plaintiff,

v.                                                        Jury Demand Requested

MediCredit, Inc.
c/o CT Corporation System
208 S. LaSalle Street, Suite 814
Chicago, IL 60604,

                             Defendant.

                                     JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C.

         §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred

         in this District.

                                                PARTIES

     3- Plaintiffs incurred an obligation to pay money, the primary purpose of which was for

         personal, family, or household uses (the “Debt”).

     4- Plaintiffs are residents of the State of Illinois.

     5- Defendant is a corporation with its principal office in the State of Missouri.

     6- Defendant acquired the Debt after it was in default and therefore qualifies as a “Debt

         Collector” under the Fair Debt Collection Practices Act.




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7- Defendant uses instruments of interstate commerce for its principal purpose of business,

   which is the collection of debts.

8- Defendant regularly attempts to collects, or attempts to collect, debts that it acquired after

   the same were in default.

9- At all times relevant, Defendant owned the Debt or was retained to collect the Debt.

                         FACTS COMMON TO ALL COUNTS

10- The Debt was incurred prior to September 27, 2016.

11- On or around September 27, 2016, Plaintiffs filed a voluntary bankruptcy petition (the

   “Petition”).

12- By filing the Petition, Plaintiffs gained the protection of the automatic stay, which

   included the Debt.

13- The Petition expressly listed Defendant in the schedules.

14- On or around September 27, 2016, the Clerk of the Bankruptcy Court for the Northern

   District of Illinois mailed notice to the Petition to Defendant.

15- Despite having notice, on or around October 3, 2016, Defendant telephoned Plaintiffs to

   collect the Debt.

16- The FDCPA requires Defendant to maintain procedures reasonably adapted to avoid

   violations.

17- Had the Defendant maintained the required reasonable procedures it would have

   discovered the bankruptcy.

18- Defendant damaged Plaintiffs.

19- Defendant violated the FDCPA.




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                                               COUNT I

20- Plaintiffs incorporate all the allegations and statements made above as if reiterated herein.

21- Defendant violated 15 USC §1692c(a)(2) by communicating with a consumer after having

   notice that the consumer was represented by an attorney.

                                               COUNT II

22- Plaintiffs incorporate all the allegations and statements made above as if reiterated herein.

23- Defendant violated 15 USC § 1692e(2) by misrepresenting the character, amount, and/or

   legal status of the Debt.

                                               COUNT III

24- Plaintiffs incorporate all the allegations and statements made above as if reiterated herein.

25- Defendant violated 15 USC § 1692e(10) by using false representations and/or deceptive

   means to collect, or attempt to collect, the Debt.

                                               COUNT IV

26- Plaintiffs incorporate all the allegations and statements made above as if reiterated herein.

27- Defendant violated 15 USC § 1692f by engaging in unfair and/or unconscionable means to

   collect, or attempt to collect, the Debt.

                                               COUNT V

28- Plaintiffs incorporate all the allegations and statements made above as if reiterated herein.

29- Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading

   methods to collect a debt.

                                         JURY DEMAND

30- Plaintiffs demand a trial by jury.




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                                  PRAYER FOR RELIEF

31- Plaintiffs pray for the following relief:

     a. Judgment against Defendant for Plaintiffs’ actual damages, as determined at trial,

         suffered as a direct and proximate result Defendant’s violations of the Fair Debt

         Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

     b. Judgment against Defendant for $2,000 in statutory damages for Defendant’s

         violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

         §1692k(a)(2)(A);

     c. Judgment against Defendant for Plaintiffs’ reasonable attorneys’ fees and costs

         incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

     d. Any other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Meier LLC

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